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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OFMAINE

  UNITED STATES OF AMERICA                        )
                                                  )
                                                  )        Crim. No. 2:18-cr-178-DBH-002
                                                  )
  DERONG MIAO                                     )

                                AGREEMENT TO PLEAD GUILTY
                                STIPULATI              w
          The United States of America, by and through Halsey B. Frank, United States Attomey

  for the District of Maine, and Darcie N. McElwee, Assistant United States Atlomey, and Derong

  Miao (hereinafter "Defendant"), acting for herself and tkough her counsel, Jeffrey LangholE,

  Esquire, enter into the following Agreement based upon the promises and understandings set

  forth below.

          l.     Guil    PI              of Counts. Defendant agrees to plead guilty to counts one,

  and Five                ofthe lndictnent herein. Count One charges conspiracy, in violation of

  18 U.S.C. $$ 371,2421,2422(a)     &   1952(a)(3),   OXI),   and Counts Five through Nine charge

  transportation for purposes of prostitution, in violation of   l8 U.S.C. SS 2421 (a)   alrtd   2. The

  United States agees that it will move to dismiss counts Two and Threfof the ffdictrnent

 'pursuant to Rule I 1(c)(l)(l)(A) at the time of sentencing (€ount Four does not involve

 Defendant), The parties agree and understand that if the court should deny that motion to

 dismiss, the provisions of Rule I l(c)(5)   will apply.

         2.      Sentencin     enalties. Defendant agrees to be sentenced on the charges described

 above. Defendant understands that the penalties that are applicable to the charges described

 above are as follows:
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                 A.      A maximum prison term offive (5) years on Count One, and not more
                         than ten (10) years on Counts Five through Nine;

                 B.      A maximum fine of $250,000 on each count ofconviction;

                 C.      A mandatory special assessment of$I00.00 for each count ofconviction
                         which Defendant agrees to pay at or before the time that she enters guilty
                        pleas; and

                 D       A term of supervised release of not more than three years. Defendant
                         understands that her failure to comply with any ofthe conditions of
                         supervised release may result in revocation ofsupervised release,
                         requiring Defendant to serve up to fwo additional years in prison for any
                         such revocation ofsupervised release pursuant to 18 U.S.C. $ 3583.

  In addition to the other penalties provided by law, the Court must also order Defendant to pay

  restitution to the victim or victims of the offense, pursuant to l8 U.S.C. $ 3663 or $ 3663A.

         3.   Agreements Reeardins Sentencinq. The parties agree to make the following non-

  binding recommendations as to sentencing:

                 A      The base offense level for each count ofconviction is 14 pursuant to
                        U.S.S.G. $2G1.1(aX2);

                 B      An enhancement offour levels is applicable for each count ofconviction
                        because the offense involved fraud and coercion pursuant to
                        $2G1.1(b)(l)(B);

                 c      Regarding Count One only, (5) levels are added pursuant to $ 2G1.l(d)(l)
                        and $ 3D1.4 (multiple count adjustrnent) because &e offense involved
                        more than 5 victims;

                 D      An enhancement of three (3) levels is applicable for each count of
                        conviction because the Defendant was a manager/supervisor in the offense
                        pursuant to $ 3B I .l ; and

                 E.     The parties agree to recommend that the Court find that Defendant has
                        accepted responsibility for the offenses ofconviction, and that the Court
                        should reduce the Defendant's Adjusted Offense Level by tkee levels
                        under U.S.S.G. $ 3El .l . The Government reserves the right not to
                        recommend a reduction under U.S.S.G. $ 3El.l if, at any time between
                        her execution of this Agreement and sentencing, the Defendant: (a) fails
                        to admit a complete factual basis for the plea; (b) fails to truthfully admit
                                                   2
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                          her conduct in the offense ofconviction; (c) engages in conduct which
                          results in an adjustment under U.S.S.G. $ 3C 1.1; (d) falsely denies or
                          frivolously contests relevant conduct for which the Defendant is
                          accountable under U.S.S.G. $ lB 1.3 or previous convictions that the
                          defendant has sustained; or (e) engages in new criminal conduct.
                          Defendant understands that she may not withdraw the guilty plea      il
                                                                                               for
                          any ofthe reasons listed above, the Govemment does not recommend that
                          she receive a reduction in Offense Level for acceptance of responsibility.

  The parties expressly agree and understand that should the Court reject either or both of the

  recommendations of the parties, Defendant     will not thereby   be permitted to withdraw her plea   of

  guilty.   The parties agree and understand that the Court has the discretion to impose any   lawful

  sentence

            4.     Appeal Waivers. Defendant is aware that Title 18, United States Code, Section

  3742 affods a defendant the right to appeal the sentence imposed. Knowing tha! Defendant

  waives the right to appeal the following:

                   A.     Defendant's guilty plea and any other aspect ofDefendant's conviction in
                          the above-captioned case; and

                   B.     A sentence of imprisonment that does not exceed 57 months.

 Defendant's waiver ofher right to appeal shall not apply to appeals based on a right that has been

 newly recognized by the Supreme Court and made retroactively applicable to cases on collateral

 revlew

            The number of months mentioned in this paragraph does not necessarily constitute an

 estimate ofthe sentence that the parties expect   will   be imposed.

            5.     Consequences   ofBreach. If Defendant violates or fails to perform any

 obligations under this Agreement ("a breach"), the United States will be released from its

 obligations hereunder and may fully prosecute Defendant on all criminal charges that can be

 brought against Defendant. With respect to such a prosecution:
                                                    3
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                  A.      The United States may use any statement that Defendant made pursuant to
                          this Agreement, including statements made during plea discussions and
                          plea colloquies, and the fact that Defendant pleaded guilty, and Defendant
                          hereby waives any claim under Rule 410 ofthe Federal Rules of Evidence
                          or Rule I l(f) of the Federal Rules of Criminal Procedure that such
                          statements and guilty plea are inadmissible.

                  B       Defendant waives any and all defenses based on the statute of limitations
                          with respect to any such prosecution that is not time-barred on the date
                          that this Agreement is signed by the parties.

  Ifthe United   States chooses to exercise its rights under this paragraph, the determination   of

  whether Defendant has committed a breach shall be made by the Court upon an appropriate

  motion. In a proceeding on such motion, the United      States shall have the burden to establish

  Defendant's breach by a preponderance ofthe evidence

         6.       Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and

  all rights she might have under the Speedy Trial   Ac! l8 U.S.C.   $$ 316l -64, fiom the date of the

  execution of this Agreement and continuing thereafter through and including the date upon

  which sentence is imposed. In the event that the Court determines that Defendant has breached

 this Agreemen! as set forth in Paragraph 5 ofthis Agreement, then the waiver described in this

  Paragraph shall continue through and including the date on which the Court determines that such

 a breach has occurred. Defendant expressly consents to the entry      of an Order by the Court

 excluding such periods of time from such consideration.

         7.       Forfeiture. Defendant agrees to waive any claim to, and assist the United States

 in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the

 United States under any law of the United States, including, but not limited to, the following

 assets: $2,000 in U.S. currency seized from CF    #l   on November 8, 2016 as proceeds from

 commercial sex acts destined for deposit by the Defendant and her husband.

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           8.    Immieration Status. Defendant recognizes that pleading guilty may have

  consequences with respect to her immigration status        if   she is not a citizen   ofthe United States.

  The parties agree and understand that the offense(s) to which Defendant is pleading guilty may

  result in Defendant being removed from the United States. Removal and other immigration

  consequences are the subject    ofa   separate proceeding, however, and Defendant understands that

  no one, including her attomey or the district court, can predict to a certainty the effect ofher

  conviction on her immigration status. Defendant nevertheless affirms that she wants to plead

  guilty regardless ofany immigration consequences that her plea may entail, even if the

  consequence is her automatic removal from the United States

           9.   Validiw of Other                 : Sisnature . This Agreement supersedes any            prior

  understandings, promises, or conditions between this Office and Defendant, However, in the

  event that Defendant fails to enter her guilty plea or is allowed to withdraw her guilty plea

  entered hereunder, and the Court determines that Defendant has not breached               tlis   Agreement,

  then any proffer agreement between the parties shall remain in effect. No additional

  understandings, promises, or conditions    will   be entered into unless in      writing and signed by all

  parties. The signature ofDefendant in the space designated signifies her full and voluntary

  acceptance of this Agreement.

          I have read this Agreement and have carefully reviewed every part of             it. I understand it
  and I have voluntarily agreed to it.



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                                                    Derong           , Defendant




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     I




                    I am legal counsel for Derong Miao. I have carefully reviewed every part of this
              Agreement with Derong Miao. To my knowledge, Derong Miao's decision to enter into this
              Agreement is an informed and voluntary one.
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 I
 I
              Date
 I                                                                       Esquile
 I
                                                       Attomey for Defendant
 I

 I                   FOR THE UNITED STATES:            Halsey B. Frank
 I

 I
                                                       United States Attorney

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              ox.,   Q/Pr/*oen
                                                              N. McElwee
                                                       Assistant U.S. Attomey



                                         Approved:
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